                                 OPINION
On August 21, 1996, appellee, Michael P. Abrams, pleaded guilty to two counts of gross sexual imposition, in violation of R.C.2907.05. He was subsequently sentenced by the Lake County Court of Common Pleas to serve a definite term of six months on each count, to be served consecutively. In April of 1997, the Department of Corrections recommended that appellee be adjudicated a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.